
201 Md. 648 (1952)
BOWIE
v.
WARDEN OF MARYLAND PENITENTIARY
[H.C. No. 15, October Term, 1952.]
Court of Appeals of Maryland.
Decided November 11, 1952.
Before MARKELL, C.J., and DELAPLAINE, COLLINS and HENDERSON, JJ.
MARKELL, C.J., delivered the opinion of the Court.
This is an application for leave to appeal from denial of a writ of habeas corpus. A similar application (on different grounds) was denied in 1947. Bowie v. Warden, 190 Md. 728. Petitioner is imprisoned under sentences for life and for one year upon conviction of rape and *649 of robbery with a deadly weapon, respectively. He alleges that one count of one indictment "constitutes double jeopardy" and another is "invalid because of uncertainty". The indictment is not in the record and the petition does not explain how it "constitutes double jeopardy" or wherein it is uncertain. In any event, defects in an indictment and the defense of double jeopardy, if properly objected to at the trial, may be reviewed on appeal or on motion for a new trial, and not on habeas corpus. Brown v. Sheriff, 200 Md. 663, 91 A.2d 392.
Application denied, with costs.
